Fill in this information to identify your case:                                                               Check as directed in lines 17 and 21:
                                                                                                                According to the calculations required by
 Debtor 1           Amanda R. Slade
                   __________________________________________________________________                           this Statement:
                     First Name             Middle Name             Last Name

 Debtor 2            ________________________________________________________________                            1. Disposable income is not determined
                                                                                                                ✔
 (Spouse, if filing) First Name             Middle Name             Last Name                                         under 11 U.S.C. § 1325(b)(3).

 United States Bankruptcy Court for the: __________
                                         Western District     of __________
                                                          of New
                                                     District      York                                            2. Disposable income is determined
                                                                                                                       under 11 U.S.C. § 1325(b)(3).
 Case number         ___________________________________________
 (If known)                                                                                                      3. The commitment period is 3 years.
                                                                                                                ✔
                                                                                                                   4. The commitment period is 5 years.


                                                                                                                
                                                                                                                 Check if this is an amended filing



Official Form 122C–1
Cha pt e r 1 3 St a t e m e nt of Y our Curre nt M ont hly I nc om e
a nd Ca lc ula t ion of Com m it m e nt Pe riod                                                                                                 /

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).


Pa rt 1 :         Ca lc ula te Y our Ave ra ge M ont hly I nc ome

1. What is your marital and filing status? Check one only.
    ✔
         Not married. Fill out Column A, lines 2-11.
         Married. Fill out both Columns A and B, lines 2-11.

     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
     the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
     from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                     Column A             Column B
                                                                                                     Debtor 1             Debtor 2 or
                                                                                                                          non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
    payroll deductions).
                                                                                                          1,647.49
                                                                                                     $__________                     0.00
                                                                                                                            $__________

3. Alimony and maintenance payments. Do not include payments from a spouse.
                                                                                                              0.00
                                                                                                     $__________                     0.00
                                                                                                                            $__________

4. All amounts from any source which are regularly paid for household expenses of
    you or your dependents, including child support. Include regular contributions from
    an unmarried partner, members of your household, your dependents, parents, and
    roommates. Do not include payments from a spouse. Do not include payments you
    listed on line 3.                                                                                         0.00
                                                                                                     $_________                      0.00
                                                                                                                            $__________

5. Net income from operating a business, profession, or
                                                                    Debtor 1      Debtor 2
    farm
                                                                          0.00
                                                                      $______          0.00
                                                                                  $______
    Gross receipts (before all deductions)
    Ordinary and necessary operating expenses                             0.00 – $______
                                                                    – $______         0.00

                                                                                              Copy
    Net monthly income from a business, profession, or farm               0.00         0.00 hereÎ             0.00                  0.00
                                                                      $______     $______            $_________            $__________

6. Net income from rental and other real property                   Debtor 1      Debtor 2

    Gross receipts (before all deductions)                               700.00
                                                                      $______          0.00
                                                                                  $______

    Ordinary and necessary operating expenses                             0.00 – $______
                                                                    – $______         0.00

                                                                                              Copy
    Net monthly income from rental or other real property                700.00
                                                                      $______          0.00 hereÎ
                                                                                  $______                   700.00
                                                                                                     $_________                     0.00
                                                                                                                           $__________



Official Form 122C–1
                      Case 1-20-11364-MJK,          Doc 6, Filed 10/27/20, Entered 10/28/20 11:11:50,
                              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                page 1
                                          Description: Main Document , Page 1 of 4
Debtor 1                Amanda R. Slade
                       _______________________________________________________                                                                                       Case number (if known)_____________________________________
                       First Name               Middle Name                       Last Name



                                                                                                                                                                    Column A               Column B
                                                                                                                                                                    Debtor 1               Debtor 2 or
                                                                                                                                                                                           non-filing spouse

7. Interest, dividends, and royalties                                                                                                                                        0.00
                                                                                                                                                                     $____________                   0.00
                                                                                                                                                                                             $__________

8. Unemployment compensation                                                                                                                                                 0.00
                                                                                                                                                                     $____________                   0.00
                                                                                                                                                                                             $__________

     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here: ........................................ Ð

        For you .....................................................................................                        0.00
                                                                                                                  $_____________
        For your spouse .....................................................................                                0.00
                                                                                                                  $_____________

 Pension or retirement income. Do not include any amount received that was abenefit
    under the Social Security Act. Also, except as stated in the next sentence, donot
    include any compensation, pension, pay, annuity, or allowance paid by the United
    States Government in connection with a disability, combat-related injury or disability, or
    death of a member of the uniformed services. If you received any retired pay paid
    under chapter 61 of title 10, then include that pay only to the extent that it does not
    exceed the amount of retired pay to which you would otherwise be entitled if retired                                                                                                            0.00
    under any provision of title 10 other than chapter 61 of that title.
                                                                                                                                                                             0.00
                                                                                                                                                                     $____________           $__________

 ,QFRPHIURPDOORWKHUVRXUFHVQRWOLVWHGDERYH6SHFLI\WKHVRXUFHDQGDPRXQW'R
    QRWLQFOXGHDQ\EHQHILWVUHFHLYHGXQGHUWKH6RFLDO6HFXULW\$FWSD\PHQWVPDGHXQGHU
    WKH)HGHUDOODZUHODWLQJWRWKHQDWLRQDOHPHUJHQF\GHFODUHGE\WKH3UHVLGHQWXQGHUWKH
    1DWLRQDO(PHUJHQFLHV$FW 86&HWVHT ZLWKUHVSHFWWRWKHFRURQDYLUXV
    GLVHDVH &29,' SD\PHQWVUHFHLYHGDVDYLFWLPRIDZDUFULPHDFULPH
    DJDLQVWKXPDQLW\RULQWHUQDWLRQDORUGRPHVWLFWHUURULVPRUFRPSHQVDWLRQSHQVLRQ
    SD\DQQXLW\RUDOORZDQFHSDLGE\WKH8QLWHG6WDWHV*RYHUQPHQWLQFRQQHFWLRQZLWKD
    GLVDELOLW\FRPEDWUHODWHGLQMXU\RUGLVDELOLW\RUGHDWKRIDPHPEHURIWKHXQLIRUPHG
    VHUYLFHV,IQHFHVVDU\OLVWRWKHUVRXUFHVRQDVHSDUDWHSDJHDQGSXWWKHWRWDOEHORZ
                                                                                                                                                                             0.00
                                                                                                                                                                     $____________                         0.00
                                                                                                                                                                                            $___________
        __________________________________________________________________
                                                                                                                                                                             0.00
                                                                                                                                                                     $____________                         0.00
                                                                                                                                                                                            $___________
        __________________________________________________________________
                                                                                                                                                                         0.00
                                                                                                                                                               + $____________                       0.00
                                                                                                                                                                                           + $__________
       Total amounts from separate pages, if any.

11. Calculate your total average monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                          2,347.49
                                                                                                                                                                     $____________     +             0.00
                                                                                                                                                                                            $___________           =      2,347.49
                                                                                                                                                                                                                       $________
                                                                                                                                                                                                                       Total average
                                                                                                                                                                                                                       monthly income
Pa rt 2 :           De te rm ine How to M e a sure Y our De duc t ions from Inc om e

12. Copy your total average monthly income from line 11. ..........................................................................................................................                                      2,347.49
                                                                                                                                                                                                                   $_____________
13. Calculate the marital adjustment. Check one:

     ✔
         You are not married. Fill in 0 below.
         You are married and your spouse is filing with you.Fill in 0 below.
         You are married and your spouse is not filing with you.
           Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of
           you or your dependents,such as payment of the spouse’s tax liability or the spouse’s support of someone other than
           you or your dependents.
           Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary,
           list additional adjustments on a separate page.

           If this adjustment does not apply, enter 0 below.
            __________________________________________________________________________                                                                                 $___________
            __________________________________________________________________________                                                                                 $___________
            __________________________________________________________________________                                                                               + $___________
           Total ................................................................................................................................................               0.00
                                                                                                                                                                       $___________
                                                                                                                                                                                         Copy here   Î          ņ____________
                                                                                                                                                                                                                            0.00


14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                                                             2,347.49
                                                                                                                                                                                                                    $ __________




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                                   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                                   page 2
                                               Description: Main Document , Page 2 of 4
Debtor 1              Amanda    R. Slade
                      _______________________________________________________                                                                                      Case number (if known)_____________________________________
                       First Name              Middle Name                       Last Name   

15. Calculate your current monthly income for the year. Follow these steps:

     15a. Copy line 14 here                 Î ...........................................................................................................................................................................................          2,347.49
                                                                                                                                                                                                                                             $ ____________

             Multiply line 15a by 12 (the number of months in a year).                                                                                                                                                                       x 12
     15b. The result is your current monthly income for the year for this part of the form. ....................................................................................                                                               28,169.88
                                                                                                                                                                                                                                             $___________



16. Calculate the median family income that applies to you. Follow these steps:

     16a. Fill in the state in which you live.                                                                   NY
                                                                                                              _________

     16b. Fill in the number of people in your household.                                                     _________
                                                                                                                       1


     16c. Fill in the median family income for your state and size of household. ................................................................................................                                                                 57,137.00
                                                                                                                                                                                                                                              $___________
              To find a list of applicable median income amounts, go online using the link specified in the separate
              instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

     17a.    
             ✔      Line 15b is less than or equal to line 16c. On the top of page 1of this form, check box 1, Disposable income is not determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3.Do NOT fill out Calculation of Your Disposable Income (Official Form 122C–2).

     17b.  Line 15b is more than line 16c. On the top of page 1of this form, check box 2, Disposable income is determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3and fill out Calculation of Your Disposable Income (Official Form 122C–2).
                    On line 39 of that form, copy your current monthly income from line 14 above.

Pa rt 3 :              Ca lc ula te Y our Com m itm e nt Pe riod Unde r 1 1 U .S.C. § 1 3 2 5 (b)(4 )


18. Copy your total average monthly income from line 11. ............................................................................................................................                                                             2,347.49
                                                                                                                                                                                                                                              $__________
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that
     calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy
     the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a. ............................................................................................. 
                                                                                                                                                                                                                                            ņ $__________
                                                                                                                                                                                                                                                    0.00

     19b. Subtract line 19a from line 18.                                                                                                                                                                                                         2,347.49
                                                                                                                                                                                                                                              $__________


20. Calculate your current monthly income for the year. Follow these steps:


     20a. Copy line 19b.. ...............................................................................................................................................................................................
                                                                                                                                                                                                                                                2,347.49
                                                                                                                                                                                                                                             $___________

              Multiply by 12 (the number of months in a year).                                                                                                                                                                              x 12
     20b. The result is your current monthly income for the year for this part of the form.
                                                                                                                                                                                                                                                28,169.88
                                                                                                                                                                                                                                             $___________


     20c. Copy the median family income for your state and size of household from line 16c.......................................................................
                                                                                                                                                                                                                                                 57,137.00
                                                                                                                                                                                                                                             $___________


21. How do the lines compare?


     ✔
          Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1of this form, check box 3,
           The commitment period is 3 years. Go to Part 4.




          Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1of this form,
           check box 4, The commitment period is 5 years. Go to Part 4.




Official Form 122C–1
                           Case 1-20-11364-MJK,          Doc 6, Filed 10/27/20, Entered 10/28/20 11:11:50,
                                   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                                                                           page 3
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Debtor 1    Amanda    R. Slade
             _______________________________________________________                          Case number (if known)_____________________________________
             First Name     Middle Name                
                                               Last Name



Pa rt 4 :   Sign Be low 


            By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

            8 /s/ Amanda R. Slade
                ___________________________________________________                 8____________________________________
               Signature of Debtor 1                                                    Signature of Debtor 2


                    10/27/2020
               Date _________________                                                   Date _________________
                      MM / DD   / YYYY                                                       MM /   DD    / YYYY

            If you checked 17a, do NOT fill out or file Form 122C–2.
            If you checked 17b, fill out Form 122C–2 and file it with this form.On line 39 of that form, copy your current monthly income from line 14 above.





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Official Form 122C–1
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